       Case 2:07-cr-00289-MCE Document 21 Filed 08/08/07 Page 1 of 2



 1   McGREGOR W. SCOTT
     United States Attorney
 2   SAMUEL WONG
     CAROLYN K. DELANEY
 3   Assistant U.S. Attorneys
     501 "I" Street, Suite 10-100
 4   Sacramento, California 95814
     Telephone: (916) 554-2798
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 7
                      IN THE UNITED STATES DISTRICT COURT
 8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,     )
11                                 )          CR NO. S-07-289 LKK
                    Plaintiff,     )
12                                 )
               v.                  )          ORDER RE STATUS CONFERENCE
13                                 )
     EDI CAMACHO, et. al.,         )
14                                 )
                    Defendants.    )
15   ______________________________)

16        On July 31, 2007, at 9:30 a.m., this matter came on for a

17   status conference.    The United States appeared through Assistant

18   United States Attorneys Carolyn K. Delaney and Samuel Wong.

19   Defendant Edi Camacho appeared with his counsel James Greiner;

20   defendant Misael Camacho appeared with his attorney Dwight Samuel;

21   and defendant Juan Camacho appeared with his attorney Gil Roque.

22   All defendants were assisted by a Spanish interpreter.

23        The government and the defendants agreed that a further

24   status conference should be scheduled on September 25, 2007, and

25   that time should be excluded until that date based on the need for

26   all defense counsel to review the voluminous discovery and prepare

27   (local code T4) and because of the complexity of the case (local

28   code T2).

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       Case 2:07-cr-00289-MCE Document 21 Filed 08/08/07 Page 2 of 2



 1        Accordingly, the Court entered the following orders:

 2        For good cause shown, IT IS HEREBY ORDERED THAT:

 3        1.   The case is scheduled for a further status conference on

 4   September 25, 2007.

 5        2.   The time between July 31, 2007 and September 25, 2007 is

 6   excluded under the Speedy Trial Act pursuant to Local Code T4,

 7   Title 18, United States Code, Section 3161 (h)(8)(B)(iv), to give

 8   the defendants time to review the discovery and to adequately

 9   prepare; and Local Code T2, Title 18, United States Code, Section

10   3161 (h)(8)(B)(ii).    The Court specifically finds that the case is

11   complex and that a continuance is necessary to give the defendants

12   reasonable time to prepare for trial in this matter.          The Court

13   finds that the ends of justice served by granting a continuance

14   outweigh the best interest of the public and defendants in a

15   speedy trial.

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18   DATE: August 7, 2007

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